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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

James Jones,                              )
                                          )
      Plaintiff,                          )
                                          )
      v.                                  )      No.    14 C 2276
                                          )
Transworld Systems, Inc., a California    )
corporation,                              )
                                          )
      Defendant.                          )      Jury Demanded

                                       COMPLAINT

      Plaintiff, James Jones, brings this action under the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt collection

actions violated the FDCPA, and to recover damages for Defendant’s violations of the

FDCPA, and alleges:

                              JURISDICTION AND VENUE

      1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

      2.      Venue is proper in this District because: a) part of the acts and

transactions occurred here; and, b) Defendant resides and transacts business here.

                                         PARTIES

      3.      Plaintiff, James Jones ("Jones"), is a citizen of the State of California from

whom Defendant continued to attempt to collect a delinquent consumer debt he

allegedly owed for medical services, despite the fact that he exercised his rights under

the FDCPA to refuse to pay the debt and be represented by the legal aid attorneys at
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the Chicago Legal Clinic's Legal Advocates for Seniors and People with Disabilities

program ("LASPD"), located in Chicago, Illinois.

       4.     Defendant, Transworld Systems, Inc. (“Transworld"), is a California

corporation that acts as a debt collector, as defined by § 1692a of the FDCPA, because

it regularly uses the mails and/or the telephone to collect, or attempt to collect,

delinquent consumer debts. From its numerous offices located in Illinois (Chicago,

Bloomington, Schaumburg, Springfield, Peoria and several other cities) and locations at

offices throughout the United States, Transworld operates a nationwide collection

agency and collects debts from consumers in virtually every state, including the State of

Illinois, see, material from Transworld’s web site, attached as Exhibit A. Moreover,

Transworld was acting as a debt collector as to the delinquent consumer debt it

attempted to collect from Mr. Jones.

       5.     Defendant Transworld is licensed to conduct business in Illinois and

maintains a registered agent here, see, record from the Illinois Secretary of State,

attached as Exhibit B. In fact, Transworld conducts business in Illinois.

       6.     Moreover, Defendant Transworld is licensed as a collection agency in

Illinois, see, record from the Illinois Division of Professional Regulation, attached as

Exhibit C. In fact, Transworld acts as a debt collector in Illinois.

                                FACTUAL ALLEGATIONS

       7.     Mr. Jones is a disabled man with limited assets and income, who fell

behind on paying his bills, including one he allegedly owed to a medical provider (Dr.

Aldrige, Reference No. 489936). When Transworld began trying to collect this debt

from Mr. Jones by calling his home phone, he sought the assistance of the legal aid



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attorneys at the Chicago Legal Clinic’s LASPD program, regarding his financial

difficulties and Defendant Transworld’s collection actions.

       8.       Accordingly, on March 11, 2014, one of Mr. Jones’s attorneys at LASPD

informed Transworld, in writing, that Mr. Jones was represented by counsel, and

directed Transworld to cease contacting him, and to cease all further collection activities

because Mr. Jones was forced, by his financial circumstances, to refuse to pay his

unsecured debts. Copies of this letter and fax confirmation are attached as Exhibit D.

       9.       Nonetheless, Defendant Transworld called Mr. Jones directly, including,

but not limited to, a telephone call on March 13, 2014, from telephone number 800-371-

1321, attempting to collect the medical debt.

       10.      This forced Mr. Jones’ LASPD attorneys to again write to Defendant

Transworld, which they did on March 15, 2014, to demand that it cease communications

and cease collection of the debt. Copies of this letter and fax confirmation are attached

as Exhibit E.

       11.      Undeterred, Defendant Transworld kept calling Mr. Jones directly,

including, but not limited to, a telephone call on March 17, 2014, attempting to collect

the medical debt.

       12.      All of Defendant Transworld’s collection actions complained of herein

occurred within one year of the date of this Complaint.

       13.      Defendant Transworld’s collection communications are to be interpreted

under the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).




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                                     COUNT I
                     Violation Of § 1692c(c) Of The FDCPA --
            Failure To Cease Communications And Cease Collections

      14.    Plaintiff adopts and realleges ¶¶ 1-13.

      15.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

      16.    Here, the letters from Mr. Jones' agent, LASPD, told Defendant

Transworld to cease communications and to cease collections (Exhibits D and E). By

continuing to communicate regarding this debt and demanding payment, Defendant

Transworld violated § 1692c(c) of the FDCPA.

      17.    Defendant Transworld’s violations of § 1692c(c) of the FDCPA render it

liable for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      18.    Plaintiff adopts and realleges ¶¶ 1-13.

      19.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      20.    Defendant Transworld knew that Mr. Jones was represented by counsel in

connection with his debts because his attorneys at LASPD had informed Defendant, in



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writing, that Mr. Jones was represented by counsel, and had directed Transworld to

cease directly communicating with Mr. Jones (Exhibits D and E). By directly calling Mr.

Jones, despite being advised that he was represented by counsel, Defendant

Transworld violated § 1692c(a)(2) of the FDCPA.

      21.    Defendant Transworld’s violations of § 1692c(a)(2) of the FDCPA render it

liable for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.

                                PRAYER FOR RELIEF

      Plaintiff, James Jones, prays that this Court:

      1.     Find that Defendant Transworld's debt collection actions violated the

FDCPA;

      2.     Enter judgment in favor of Plaintiff Jones, and against Defendant

Transworld, for actual and statutory damages, costs, and reasonable attorneys’ fees as

provided by § 1692k(a) of the FDCPA; and,

      3.     Grant such further relief as deemed just.

                                    JURY DEMAND

      Plaintiff, James Jones, demands trial by jury.

                                                James Jones,

                                                By: /s/ David J. Philipps_______
                                                One of Plaintiff's Attorneys

Dated: March 31, 2014




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